Case 2:10-cr-20705-RHC-MKM ECF No. 349, PageID.2222 Filed 12/20/11 Page 1 of 5
Case 2:10-cr-20705-RHC-MKM ECF No. 349, PageID.2223 Filed 12/20/11 Page 2 of 5
Case 2:10-cr-20705-RHC-MKM ECF No. 349, PageID.2224 Filed 12/20/11 Page 3 of 5
Case 2:10-cr-20705-RHC-MKM ECF No. 349, PageID.2225 Filed 12/20/11 Page 4 of 5
Case 2:10-cr-20705-RHC-MKM ECF No. 349, PageID.2226 Filed 12/20/11 Page 5 of 5
